     Case 2:20-cv-01338-CJB-JVM Document 9-13 Filed 07/07/20 Page 1 of 12



From: Douglas Draper <ddraper@hellerdraper.com>

Sent: Wednesday, March 18, 2020 6:20 PM

To: Soren Gisleson <SGISLESON@hhklawfirm.com>

Subject: Call



Placed a call to you based on Phil’s email. I am available tomorrow to discuss with you and your team. I
am in the process of finalizing a memo going through issues and matters to consider. I have looked at
the docket and bk plans for at least 15 of the filed cases.



Sent from my iPhone

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    Case 2:20-cv-01338-CJB-JVM Document 9-13 Filed 07/07/20 Page 2 of 12


From:           Deborah Hepting
To:             Richard Trahant; jdenenea@gmail.com; Soren Gisleson; Jessica C. Quin
Cc:             Douglas Draper
Subject:        Potential Bankruptcy
Date:           Monday, March 30, 2020 5:08:48 PM
Attachments:    Document-20200317133304.docx (00371971-12xBDDDE).docx
                Appendix A Workable 9-13-19.xlsx
                Appendix B Workable 9-13-19.xlsx



Please see attached.
Thanks,
Deborah A. Hepting
Heller, Draper, Patrick, Horn & Manthey, L.L.C.
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        The following is a memorandum in connection with a potential Chapter 11 by the
Archdiocese of New Orleans (“Archdiocese”). This memorandum will address the following
issues:

       1.       Benefits of a Chapter 11 to the Archdiocese;

       2.       Rights of the Plaintiffs in a Chapter 11;

       3.       The likely plan to be filed by the Archdiocese;

       4.       Key Chapter 11 issues addressed in the various Chapter 11 cases;

       5.       Planning prepetition for post-petition issues; and

       6.       Team Needed.

        As of the writing of this memorandum, over twenty (20) Archdioceses have filed for
relief under Chapter 11. The latest of the cases filed was the Archdiocese of Buffalo, New York.
Over fifty percent (50%) of the cases have resulted in confirmed plans of reorganization with the
average settlement amounts per victim ranging from a low of approximately $50,000.00 to in
excess of $1,000,000.00 (see Chart 2). The duration of the cases and the legal costs incident to
the cases are set forth on Chart 1.

        The bankruptcy cases filed by the various Archdioceses have placed a legal spotlight on
the secular and legal relationships between the diocesan debtor and its constituent parishes,
schools, cemeteries and other entities that operate under the bishop’s authority. The sexual abuse
cases are different than any other mass tort Chapter 11s and have been characterized as slugfests
with unique issues raised such as “religious freedom.” The Church, in each of the cases, has
been aggressive in its defense of transfers of its property, claiming that it does not own property
but, rather, that the property is owned by parishes or that the Bankruptcy Code or certain of its
provisions do not apply to the Church.

BENEFITS OF A CHAPTER 11 FILING

        The filing of a Chapter 11 is no longer viewed as a badge of shame or failure. Chapter 11
filings have been used by companies with mass tort exposure in an effort to control the costs of
the litigation process, limit the recovery of known claimants, change the court hearing the
dispute, remove litigation over the dispute from juries, and limit or cut off the rights of unknown
and future claimants.

        Aside from the legal and economic benefits the Archdiocese will receive as a result of a
Chapter 11 filing, it would also allow the Church to change the tenor of its position. Rather than
fighting the emotional issue of its cover up of sexual abuse, the Church will announce that it has
filed in order to provide to the injured plaintiffs a quick, fair and efficient means of
compensation. The Church will claim that it is embarking on an open and transparent process.


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The issues the Church currently faces related to its hiding of abuse, its wrongdoing for over the
last fifty (50) years and its efforts to thwart claims will be replaced by changing the dialog to one
about money and compensation. The goal of the Church will be to desensitize the matter and
change the discussion to purely a monetary discussion. The deception that will now take place
will be one of assets, transfers, value, and the universe of asserted and unasserted claims and the
valuation of those claims. This new dialog will not be as incendiary for the Church and will not
cause a problem with its parishioners.

         The filing of a Chapter 11 results in the imposition of an automatic stay with respect to
all pending cases against a debtor absent the lifting of the automatic stay by the Bankruptcy
Court. All discovery in the various state court cases will shut down. More important, however,
is the ability of the Church to remove the pending cases to federal court. 28 U.S.C. § 1342
permits the removal of cases “arising in, arising under or related to a Chapter 11” case. In order
to move the cases back to state court, the plaintiffs will have to file motions with either the
United States District Court or Bankruptcy Court to abstain or remand. The Court hearing the
prescription issue will now be a federal court, as opposed to the current state court system.
Imagine the prescription issue being decided by Judge Feldman or another judge with his judicial
philosophy. The cases against the Church pending in the Eastern District have been assigned to
Mary Ann Lemon and Barry Ashe (formerly of Stone Pigman). If Judge Ashe was assigned the
case and Stone Pigman appeared, he would be required to recuse himself. Inasmuch as the
bankruptcy would be filed due to the victim claims the chances are slim that the cases removed
to Federal Court will be remanded to State Court or that the United States District Judge will
abstain sending the cases back to State Court. The bankruptcy court cannot hear jury trials and
can only issue recommendations for a District Judge to render a judgment with respect to
liability and quantum for the victim’s claims.

         A bankruptcy also gives the Church the ability to cut off claims if proofs of claim are not
filed whether or not the claimants had actual knowledge of the bankruptcy filing. One of the first
day motions that the Church will file will be a Motion to Fix a Bar Date. The Church will ask
for authority to advertise the bar date in various papers. The effect of this can be far reaching. In
connection with the Hunt Oil Chapter 11, the 5th Circuit held that publication notice in the Wall
Street Journal was sufficient notice to cut off landowners in Cameron Parish from asserting
environmental claims against Hunt Oil. Technical issues may also cause the loss of a claim, for
example, if class proofs of claim are disallowed, if claims with unknown amounts are
disallowed, or if a plaintiff’s lawyer signs the proof of claim for his client. The bar date motion
and the failure of claimants to file proofs of claim will act as a means for the Church to limit its
liability under principles of res judicata. It will also be important for an organized group of
plaintiffs to request that the Court enter an order allowing the names and addresses of the
claimants to be kept confidential.

       The Bankruptcy Code has a provision that allows, as does existing case law, for the entry
of a channeling injunction. The bankruptcy code provision relating to a channeling injunction is


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limited to asbestos cases, however, case law has expanded the use of a channeling injunction to
other cases. The plan of reorganization filed by the Church in St. Paul / Minneapolis contained a
channeling injunction and the Court held that the presence of a channeling injunction in a plan
did not make the plan non-confirmable.

        The two bankruptcy judges in New Orleans may also be favorable to the Church.
Meredith Grabill, who was recently appointed to fill the seat held by Judge Magner, is or was a
member of the Federalist Society and is very close to Judge Englehart in judicial and political
philosophy. Judge Brown is a wild card but may not have the case assigned to him due to his
age and potentially limited tenure on the bench. He is on his third round of recall. A possibility
to consider is that the Church may file in Lafayette. Judge Kolwe is a former Jones Walker
partner and worked with Patrick Vance. The only Catholic judge in Louisiana is Douglas Dodd
in Baton Rouge and it is doubtful the Church will want him to handle the case.

        A bankruptcy filing will limit the litigation costs of the Church. If each case filed were to
come to trial, the cost to the Church would be staggering. The legal process alone would take (5)
to ten (10) years for all cases to come to trial. A Chapter 11 with settlement grid reduces the
legal costs and, more importantly, fixes the liability and funding requirement for the Church. A
likely plan will create a settlement trust with a fixed amount funded by the Church. Once the
fixed amount is funded how the money is split between the claimants is of no matter to the
Church. Both the legal cost and risk as to liability and amount will be removed as issues facing
the Church in the future if they can confirm a plan.

RIGHTS OF PLAINTIFFS IN A CHAPTER 11

        In a Chapter 11, the United States Trustee appoints a creditors’ committee from a group
of creditors who fill out a questionnaire and indicate they are willing to serve as members. The
committee usually has five (5) or seven (7) members and generally is comprised of the creditors
possessing the largest claims. Pursuant to 28 U.S.C. § 101(5), the definition of a claim does not
require that the claim of a creditor be liquidated or fixed as to liability or amount. I have looked
at the records in all the Church related Chapter 11 proceedings and in each case the creditors’
committee majority is made up of the victims of sexual abuse. The committee, when selected,
has the ability to hire 1) counsel; and 2) other professionals (such as appraisers, actuaries,
accountants and forensic accountants) to pursue the rights of the bankruptcy estate’s creditors.
The costs of counsel and other professionals hired by the committee will be paid for by the
Church.

       11 U.S.C. § 1103 outlines the duties of a creditors’ committee as the following:

                a)     Consult with the debtor-in-possession concerning the administration of the
                       case;




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                b)     Investigate the acts, conduct, assets, liabilities and financial condition of
                       the debtor;

                c)     Participate in the formulation of a Plan;

                d)     Request the appointment of a Trustee or Examiner; and

                e)     Perform such services as may be in the interests of justice.
           Bankruptcy Code 11 U.S.C. § 1104(c)(2) provides for the appointment of an Examiner
if either a) the appointment is in the best interests of creditors; or b) the debtor’s fixed liquidated
unsecured debt exceeds $5,000,000.00.
        At first blush, it would seem that the appointment of an Examiner would benefit the
abuse victims. The appointment is really a double edge sword since the conclusions reached in
the Examiner’s report, such as whether property is owned by the Church or whether a bequest is
a specific bequest insulating the bequest from the claims of the sexual abuse victims, will not
likely be overturned by the Bankruptcy Court. It would not be surprising for the Church to
request the appointment of an Examiner so that the Church’s financial information is shielded
from the creditors committee, the sexual abuse victims and the public. Possibly, the only
documents the creditors will see, if an Examiner is appointed, will be the Examiner’s report.

        The creditors’ committee, under certain circumstances, may possess standing to assert a
claim in the name of a debtor. The Bankruptcy Code initially places all potential claims in the
hands of a debtor (See 11 U.S.C. § 544). While a debtor and its counsel have a fiduciary duty to
creditors, it is difficult to convince a debtor to file suit to avoid a transfer it voluntarily made or
made in contemplation of the filing of a Chapter 11. In the Louisiana World Exposition, Inc.
Chapter 11, the committee requested the authority to file suit against the officers and directors of
Louisiana World Exposition, Inc. The 5th Circuit reversed the holding of the Bankruptcy Court
and held that a creditors’ committee may under certain conditions possess the requite standing
(See In re Louisiana World Exposition, Inc., 832 F.2d 1391 (5th Cir 1987). In order for the
committee to pursue a claim on behalf of the debtor, the committee must make demand on the
debtor and possess a “colorable claim.” The determination as to standing is determined on an
item by item basis. In the Milwaukee case, the committee won on one issue and lost on another.
A similar result occurred in the Anchorage Chapter 11 case.

        A major issue will be exactly what assets comprise property of the Debtor Archdiocese.
The Archdiocese will attempt to downplay the value while the creditors’ committee will seek to
increase the value. The importance of the valuation difference is that 11 U.S.C. §
1129(a)(7)(a)(2) requires that creditors receive under a plan that which they would receive if the
debtor was liquidated under Chapter 7. The Church cannot confirm a plan without paying
creditors the amount they would receive if its assets were liquidated. In the Portland
Archdiocese case, the Church contended the value of its assets was $19,000,000.00 and the



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creditors’ committee asserted the value was $500,000,000.00. The recovery to abuse victim
creditors will be based on the outcome of valuation litigation. The relationship of the
Archdiocese to related entities and the transfer of funds between the entities will have to be
investigated.

        In other Church Chapter 11 proceedings issues have been litigated as to whether Church
property was owned by the separate dioceses within the Archdiocese or whether a cemetery was
a separate juridical entity and, therefore, its burial fund did not comprise property of the
bankruptcy estate. The Church strategy has been to claim that significant assets are not property
of the estate for purposes of paying creditors.

        The other key number in determining whether the Church can confirm a plan is the
universe of claims and the value of each claim. In the Asbestos Chapter 11 cases and Dow
Corning cases, the claims universe and the potential claims universe were determined by
actuaries. The average value of each claim was also the subject of expert testimony.

PLAN THAT WILL BE FILED BY THE ARCHDIOCESE

       The Plan that will be filed by the Archdiocese will have the following elements:

       a)       A fixed pool for the payment of creditors. This number will fix the liability of the
                Church and will limit any risk they have as to the number of claims;

       b)       A channeling injunction that will force all claims through a process;

       c)       A removal of all cases from Civil District Court;

       d)       A release for all officers, directors, employees and priests;

       e)       An injunction against the filing of future claims and a dismissal of all claims of
                victims who did not file a proof of claim in accordance with the bar date. The
                Plan will contain a provision that claims not filed by the bar date will be barred by
                res judicata principles;

       f)       A waiver of all avoidance actions which includes claims relating to the Church’s
                transfer of properties and rights under various self-created trusts and entities;

       g)       Limitation on legal fees recoverable by plaintiff lawyers from compensated
                victims; and

       h)       Some settlement with the Church’s insurers to fix those entities’ liability for a
                fixed contribution to the settlement fund.




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KEY CHAPTER 11 ISSUES

        I have addressed many Chapter 11 issues in other sections of this memo. The critical
issues are the following:

       a)       What property comprises property of the estate and what is the liquidation value
                of such property;

       b)       How many claims exist (both asserted and unasserted) and what are the value of
                the claims;

       c)       Whether the Court can issue a channeling injunction;

       d)       The extent of the releases available in a Chapter 11. The 5th Circuit only allows
                limited injunctions and releases;

       e)       Rights against the insurance entities who insure the Church. Will they be covered
                by the Plan and have all claims against them released; and

       f)       Whether the Court should appoint an Examiner.


PLANNING FOR A CHAPTER 11

        The normal delay in this circuit between the filing of a Chapter 11 and the appointment of
a creditors’ committee is usually two (2) to three (3) weeks. The delay works to the advantage of
a debtor. In order to potentially avoid the time delay, the abuse victims should form an ad hoc
committee and identify the abuse victims who will ultimately serve on the official committee.
The ad hoc committee will likely be appointed as the official creditors committee if the ad hoc
committee was fairly selected. To meet this hurdle, a meeting should be held with the lawyers
presently representing clients and, out of that meeting, the members of the ad hoc committee
should be selected.

       The ad hoc committee could then retain counsel to be present at all hearings prior to the
appointment of the official creditors’ committee.

        The bankruptcy case will have bankruptcy and non-bankruptcy issues. The committee’s
legal team should have a bankruptcy specialist and a person skilled in the creation of a claims
process and means of determining the value of claims.

       A website should be created to afford abuse victims and their counsel with real time
information about the case. In addition, a fact sheet with frequently asked questions should be
included on the website so that people can be educated about the Chapter 11.

      Court records should be searched prior to any bankruptcy filing to see if the Church is
embarking on a pre-filing protection plan. For example, have new entities been created to hold

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Archdiocese assets, are the Parish churches separately incorporated, has the Church transferred
or alienated any property?

        A response to the Church’s filing should be prepared to provide a counter-point to the
narrative advanced by the Church as to its reason for filing.

       A determination should be made as to what claims against the Church are automatically
stayed by the filing and which defendants are not protected by the automatic stay so that those
cases can move forward expeditiously.




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 Name of Debtor       Date Filed        Court      Docket Number    Date Confirmed       Corporate Form of Debtor    Separately Incorporated Parishes?
Archdiocese of
                          7/6/2004 D. Oregon      3:04-bk-37154               4/17/2007 Corporation Sole            No
Portland
Diocese of Tucson        9/20/2004 D. Arizona     4:04-bk-04721                8/1/2005 Corporation Sole            No
                                   E.D.
Diocese of Spokane       12/6/2004                2:04-bk-08822               4/24/2007 Corporation Sole            No
                                   Washington
Diocese of
                       10/10/2006 S.D. Iowa       3:06-bk-02229                5/1/2008 Non-Profit Corp.            Yes
Davenport
Diocese of San
                         2/27/2007 S.D. California 3:07-bk-00939   Settled 11/16/2007 Corporation Sole              No
Diego
Diocese of
                          3/1/2008 D. Alaska      4:08-bk-00110               2/17/2010 Corporation Sole            No
Fairbanks*
Oregon Province,
                         2/17/2009 D. Oregon      3:09-bk-30938               7/29/2011 Non-Profit Corp.            No**
Society of Jesus
Diocese of
                       10/18/2009 D. Delaware     1:09-bk-13560               7/28/2011 Non-Profit Corp.            Yes
Wilmington
Archdiocese of                       E.D.
                          1/4/2011                2:11-bk-20059              11/13/2015 Non-Profit Corp.            Yes
Milwaukee                            Wisconsin
Christian Brothers                   S.D. New
                         4/28/2011                7:11-bk-22820               1/13/2014 Non-Profit Corp.            Yes
of Ireland                           York
                                     D. New
Diocese of Gallup      11/12/2013                 1:13-bk-13676               6/23/2016 Corporation Sole            No
                                     Mexico
                                     E.D.
Diocese of Stockton      1/15/2014                2:14-bk-20371               1/13/2017 Corporation Sole            Yes
                                     California
Diocese of Helena        1/31/2014   D. Montana   2:14-bk-60074                3/5/2015 Corporation Sole            No
Archdiocese of St.
Paul and                 1/16/2015 D. Minnesota   3:15-bk-30125               9/25/2018 Religious Corp.***          Yes
Minneapolis
Diocese of Duluth        12/7/2015 D. Minnesota   5:15-bk-50792    Settled 03/07/2019 Religious Corp.***            Yes
Diocese of New
                          3/3/2017 D. Minnesota   3:17-bk-30601    Pending              Religious Corp.***          Yes
Ulm
Diocese of Great
                         3/31/2017 D. Montana     2:17-bk-60271               8/22/2018 Corporation Sole            No
Falls- Billings
Crosier Fathers and
                          6/1/2017 D. Minnesota   4:17-bk-41681               3/26/2018 Non-Profit Corp.            Yes
Brothers
Diocese of St.
                         3/15/2018
Cloud
Archdiocese of San
                         8/30/2018
Juan, PR
Diocese of Winona-
                       11/30/2018
Rochester
Archdiocese of
                       11/30/2018 Bankr. D.N.M. 1:18-bk-13027                           Corporation Sole
Santa Fe
Archdiocese of
                         1/16/2019
Agana, Guam
Diocese of
                         9/12/2019 Bankr. D.      2:19-bk-20905                         Non-Profit Corp.            Yes
Rochester, NY
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  Name of Case            Type         Date Filed     Date Confirmed       Time Filing to Confirmation    Settlement Total    Insurance Portion    Total Prof’l Fees     Number of Victims    Settlement Per Victim          Column1
Portland             Archdiocese           7/6/2004            4/17/2007                     2.78 Years              $74.40               $52.00                $19.10                  173                 $430,000
Tucson               Diocese              9/20/2004             8/1/2005                     0.86 Years              $22.20               $14.80                 $5.00                   45                 $493,300

Spokane              Diocese              12/6/2004            4/24/2007                     2.38 Years              $48.00               $20.00                $10.90                  150                 $320,000

Davenport            Diocese             10/10/2006             5/1/2008                     1.56 Years              $37.00               $19.50                 $2.60                  162                 $228,390

San Diego**          Diocese              2/27/2007           11/16/2007                     0.72 Years             $198.10               $75.65                 $5.00                  144               $1,375,690

Fairbanks***         Diocese               3/1/2008            2/17/2010                     1.97 Years               $9.80                $1.40                 $4.80                  290                  $33,790


Oregon Province
                     Religious Order      2/17/2009            7/29/2011                     2.44 Years             $166.10              $118.00                 $8.60                  535                 $310,460
Society of Jesus


Wilmington           Diocese             10/18/2009            7/28/2011                     1.78 Years              $77.40               $15.60                $15.80                  148                 $522,970

Milwaukee            Archdiocese           1/4/2011           11/13/2015                     4.86 Years              $21.00               $10.70                $23.00                  350                  $60,000
Christian Bros. of
                     Religious Order      4/28/2011            1/13/2014                     2.72 Years              $16.50                $3.50                 $8.10                  400                  $41,000
Ireland
Gallup               Diocese             11/12/2013            6/23/2016                     2.62 Years              $22.00               $18.90                 $3.50                   57                 $385,960
Stockton             Diocese              1/15/2014            1/13/2017                     3.00 Years              $17.10                $3.30                 $1.00                   30                 $570,000
Helena               Diocese              1/31/2014             3/5/2015                     1.09 Years              $21.00               $14.40                 $2.00                  360                  $58,000
St. Paul and
                     Archdiocese          1/16/2015            9/25/2018                     3.69 Years             $210.30              $166.80                $26.00                  450                 $467,300
Minneapolis
Great Falls-
                     Diocese              3/31/2017            8/22/2018                     1.39 Years              $20.00                $8.00                 $1.50                   86                 $232,560
Billings
Crosier Fathers
                     Religious Order       6/1/2017            3/26/2018                     0.82 Years              $25.50               $19.80                 $1.10                   43                 $593,020
and Brothers
Duluth               Diocese              12/7/2015             3/7/2019                     3.25 Years              $31.70               $31.70                 $4.00                  125                 $253,400
New Ulm              Diocese               3/3/2017 Pending
St. Cloud            Diocese              3/15/2018
San Juan, PR         Archdiocese          8/30/2018
Winona-Rochester Diocese                 11/30/2018
Santa Fe             Archdiocese         11/30/2019
Agana, Guam          Archdiocese          1/16/2019
Rochester, NY        Diocese              9/12/2019


                                                                                                                  $1,018.10              $594.05               $142.00                3,548       0.286950394588501 AMOUNTS IN MILLIONS
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